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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISION

   UNITED STATES OF AMERICA

   v.                                 Case No.: 8:14-cr-236-VMC-TGW

   LUIS ANTONIO RODRIGUEZ

   ____________________________/

                                    ORDER

         This cause comes before the Court pursuant to Defendant

   Luis Antonio Rodriguez’s pro se Motion for Compassionate

   Release (Doc. # 59), filed on October 4, 2021. The United

   States responded on October 18, 2021. (Doc. # 62). For the

   reasons set forth below, the Motion is denied.

   I.    Background

         On November 20, 2014, the Court sentenced Rodriguez to

   180 months’ imprisonment for being a felon in possession of

   a firearm. (Doc. # 33). Rodriguez is 53 years old and is

   projected to be released from Texarkana FCI in July 2028. 1

         In the Motion, Rodriguez seeks compassionate release

   from prison under 18 U.S.C. § 3582(c)(1)(A), as amended by

   the First Step Act, because of the COVID-19 pandemic and his

   medical   conditions,    which    include   diabetes,   high   blood


   1 This information was obtained using the Bureau of Prisons’
   online inmate locator. See https://www.bop.gov/inmateloc/.


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   pressure, high cholesterol, obesity, “cardiac abnormalities,”

   and asthma. (Doc. # 59 at 4). The United States has responded

   (Doc. # 62), and the Motion is now ripe for review.

   II.   Discussion

         The   United    States   argues    that   Rodriguez      has   not

   identified “extraordinary and compelling circumstances” that

   would justify granting the instant Motion. (Doc. # 62 at 1).

   The Court agrees.

         A term of imprisonment may be modified only in limited

   circumstances. 18 U.S.C. § 3582(c). In the Motion, Rodriguez

   argues   that   his   sentence   may    be   reduced   under    Section

   3582(c)(1)(A)(i), which states:

         the court, upon motion of the Director of the Bureau
         of Prisons [(BOP)], or upon motion of the defendant
         after the defendant has fully exhausted all
         administrative rights to appeal a failure of the
         Bureau of Prisons to bring a motion on the
         defendant’s behalf or the lapse of 30 days from the
         receipt of such a request by the warden of the
         defendant’s facility, whichever is earlier, may
         reduce the term of imprisonment . . . after
         considering the factors set forth in section
         3553(a) to the extent they are applicable, if it
         finds that [ ] extraordinary and compelling reasons
         warrant such a reduction . . . and that such a
         reduction is consistent with the applicable policy
         statements issued by the Sentencing Commission.

   18 U.S.C. § 3582(c)(1)(A)(i). “The First Step Act of 2018

   expands the criteria for compassionate release and gives

   defendants the opportunity to appeal the [BOP’s] denial of


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   compassionate release.”       United States v. Estrada Elias, No.

   6:06-096-DCR, 2019 WL 2193856, at *2 (E.D. Ky. May 21, 2019)

   (citation     omitted).   “However,     it    does   not    alter     the

   requirement that prisoners must first exhaust administrative

   remedies before seeking judicial relief.” Id.

         Here,    the   United    States   concedes     that    Rodriguez

   exhausted his administrative remedies. (Doc. # 62 at 3). Even

   if Rodriguez has exhausted his administrative remedies, the

   Motion is denied because he has not demonstrated that his

   circumstances    are   extraordinary    and   compelling    so   as    to

   warrant release.

         The Sentencing Commission has set forth the following

   exhaustive qualifying “extraordinary and compelling reasons”

   for   compassionate    release:   (1)   terminal     illness;    (2)    a

   serious medical condition that substantially diminishes the

   ability of the defendant to provide self-care in prison; or

   (3) the death of the caregiver of the defendant’s minor

   children. USSG § 1B1.13, comment. (n.1); see also United

   States v. Bryant, 996 F.3d 1243, 1248 (11th Cir. 2021) (“In

   short, 1B1.13 is an applicable policy statement for all

   Section 3582(c)(1)(A) motions, and Application Note 1(D) does

   not grant discretion to courts to develop ‘other reasons’

   that might justify a reduction in a defendant’s sentence.”).


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   Rodriguez bears the burden of establishing that compassionate

   release is warranted. See United States v. Heromin, No. 8:11-

   cr-550-VMC-SPF, 2019 WL 2411311, at *2 (M.D. Fla. June 7,

   2019)    (“Heromin        bears      the    burden     of   establishing    that

   compassionate release is warranted.”).

          First, the Court agrees with the Third Circuit that “the

   mere existence of COVID-19 in society and the possibility

   that    it    may     spread    to   a     particular   prison   alone     cannot

   independently          justify       compassionate      release,     especially

   considering [the BOP’s] statutory role, and its extensive and

   professional efforts to curtail the virus’s spread.” United

   States v. Raia, 954 F.3d 594, 597 (3d Cir. 2020). And, as the

   United       States    points     out,     Rodriguez    contracted    COVID    in

   October 2020 and, in April 2021, declined to be vaccinated

   for COVID. (Doc. # 62 at 2-3); see United States v. Martinez,

   No. CR18023901PHXSPL, 2021 WL 718208, at *2 (D. Ariz. Feb.

   24, 2021) (“When a Defendant has refused the vaccine, this

   Court has found that fact undercuts the argument that risk of

   serious illness from contracting COVID-19 is an extraordinary

   and compelling reason for his immediate release.” (citation

   and internal quotation marks omitted)). As of now, no inmates

   at Rodriguez’s facility are currently infected with COVID-

   19. (Doc. # 62 at 2).


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         Here,     Rodriguez      cites    to   several   underlying    medical

   conditions, which include diabetes, high blood pressure, high

   cholesterol, obesity, “cardiac abnormalities,” and asthma.

   (Doc. # 59 at 4). However, Rodriguez has not demonstrated

   that these conditions are so serious that they substantially

   diminish his ability to provide self-care in prison. See USSG

   § 1B1.13, comment. (n.1); see also United States v. Rodriguez-

   Campana, No. 18-CR-60250, 2021 WL 602607, at *4-5 (S.D. Fla.

   Feb. 16, 2021) (denying motion for compassionate release

   filed     by    inmate   who     suffered       from   hypertension,     high

   cholesterol, prediabetes, and had a history of lung problems,

   where inmate had failed to demonstrate that “any of his

   present    ailments      are    terminal,       that   they    substantially

   diminish       his   ability     to    provide     self-care    within   the

   correctional facility, or that they are not being properly

   attended to by the BOP”). Nor do these conditions constitute

   a terminal illness. Thus, Rodriguez’s medical conditions do

   not warrant release.

         Finally, the 18 U.S.C. § 3553(a) factors do not support

   compassionate        release.         Section    3553(a)      requires    the

   imposition of a sentence that protects the public and reflects

   the seriousness of the crime. As the United States emphasizes,

   Rodriguez “is a Latin King gang member and an Armed Career


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   Criminal” with prior convictions for conspiracy to commit

   murder and serious drug offenses. (Doc. # 62 at 9). After

   those convictions, he still obtained a firearm, leading to

   his conviction in this case. (Id.). The Court agrees that

   this history of serious crimes and recidivism weigh against

   early release.

         Accordingly, it is

         ORDERED, ADJUDGED, and DECREED:

         Luis Antonio Rodriguez’s pro se Motion for Compassionate

   Release (Doc. # 59) is DENIED.

         DONE and ORDERED in Chambers, in Tampa, Florida, this

   20th day of October, 2021.




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